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      In The United States Court of Federal Claims
                                            No. 09-583C

                                      (Filed: February 26, 2010)
                                             __________
 AUTOMAK GENERAL TRADING &
 CONTRACTING COMPANY, W.L.L.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

       On February 10, 2010, plaintiff filed an unopposed motion to stay this case pending
settlement negotiations. Accordingly:

       1.       Plaintiff’s motion to stay is GRANTED and this case is stayed until
                further court order; and

       2.       On or before June 10, 2010, the parties shall file a report on the status of
                settlement negotiations. On the basis of that report, the court will either
                order a status conference or take steps to continue the stay.

       IT IS SO ORDERED.



                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
